







		NO. 12-08-00171-CV


	

IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: MICHAEL KENNEDY,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


	Michael Kennedy seeks a writ of mandamus requiring either the Anderson County District
Clerk or the Judges of the 3rd and 349th Judicial District Courts of Anderson County to issue service
of citation in his civil rights suit (trial court cause number 3-40741).  We dismiss Kennedy's petition
for lack of jurisdiction in part and deny it in part.

	The Texas Legislature has not conferred authority on the courts of appeals to issue writs of
mandamus generally.  Each court of appeals or justice of a court of appeals may issue writs of
mandamus to enforce the jurisdiction of the court.  Tex. Gov't Code Ann. § 22.221(a) (Vernon
2004).  Also, each court of appeals for a court of appeals district may issue writs of mandamus
against a judge of a district or county court in the court of appeals district or the judge of a district
court who is acting as a magistrate at a court of inquiry under Chapter 52, Code of Criminal
Procedure, in the court of appeals district.  Id. § 22.221(b).  Kennedy has not shown that a writ of
mandamus directed to the district clerk is necessary to enforce our jurisdiction.  Therefore, the facts
Kennedy has alleged do not establish that he is entitled to the requested relief.

	Generally, a party seeking mandamus relief against a trial court cannot prevail absent a
showing that the trial court abused its discretion and appeal is an inadequate remedy.  See Walker
v. Packer, 827 S.W.2d 833, 839-40 (Tex.1992).  We have been unable to locate any authority for the
proposition that the respondent trial courts have a duty to issue citation.  See Tex. R. Civ. P. 99(a).
("Upon the filing of the petition, the clerk, when requested, shall forthwith issue a citation and
deliver the citation as directed by the requesting party.  The party requesting citation shall be
responsible for obtaining service of the citation and a copy of the petition.").  Therefore, the
respondent trial courts' failure to do so cannot constitute an abuse of discretion.  See Walker, 827
S.W.2d at 839-40.  Because Kennedy has not shown an abuse of discretion by the named trial courts,
he has not established that he is entitled to the requested relief.  See id. at 839.

	The portion of Kennedy's petition seeking a writ of mandamus directed to the Anderson
County District Clerk is dismissed for want of jurisdiction. The portion seeking a writ of mandamus
directed to the trial courts is denied.  Kennedy further requests that this court appoint a different
judge to hear and decide his civil rights suit.  We do not have the authority to assign judges.  See
Tex. Gov't Code Ann. §§ 74.056, 74.057 (Vernon 2005).  Accordingly, we overrule Kennedy's
request.


								     BRIAN HOYLE    

									   Justice



Opinion delivered May 21, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.




















(PUBLISH)


